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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

JUANA CRUZ, ET AL.,
                                                §
                                                §
                      Plaintiffs,               §
                                                §
v.                                              §          CASE NO.: 7:23-CV-00343
                                                §
Delgar Foods, LLC,                              §
                                                §
                      Defendant.                §


      Order On Defendant Delgar Foods, LLC’s Motion for Final Summary Judgment


       On this day, the Court considered Defendant Delgar Foods, LLC’s Motion for Final

Summary (the “Motion”). Having considered the Motion, any response thereto, the evidence, the

arguments of Counsel, if any, and the pleadings on file, the Court rules on Defendant’s Motion as

follows:

       1.     It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Gabriela Velasquez’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.

       2.     It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Concepcion Perez’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.

       3.     It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Maria Jesus Lopez Medina’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.




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       4.     It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Gilda Rivas’s FLSA Wage Violations claim and liquidated damages request against Defendant is

GRANTED and all claims against Defendant are dismissed with prejudice.

       5.     It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Lazaro Garcia’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.

       6.     It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Elias Gutierrez’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.

       7.     It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Elizabeth Lara’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.

       8.     It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Olga Perez’s FLSA Wage Violations claim and liquidated damages request against Defendant is

GRANTED and all claims against Defendant are dismissed with prejudice.

       9.     It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Hector Sanchez’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.

       10.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Maria de Lourdes Cruz’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.




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       11.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Ricardo Esquivel’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.

       12.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Mauricio Sanchez’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.

       13.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Juana Cruz de la Cruz’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.

       14.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Guillermo Ruiz’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.

       15.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Ofelia Benavidez’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.

       16.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Miguel Caballero’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.

       17.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Angelica Chavez’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.




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       18.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Melesio Cruz’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.

       19.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Yessy Perez’s FLSA Wage Violations claim and liquidated damages request against Defendant is

GRANTED and all claims against Defendant are dismissed with prejudice.

       20.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Rafael Sanchez’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.

       21.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Rosa Quintana’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.

       22.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Carlos Lopez’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.

       23.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Hector Gonzalez’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.

       24.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Jorge Mauleon’s FLSA Wage Violations claim and liquidated damages request against Defendant

is GRANTED and all claims against Defendant are dismissed with prejudice.




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       25.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Rosendo Lievano’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.

       26.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Luis Zuniga’s FLSA Wage Violations claim and liquidated damages request against Defendant is

GRANTED and all claims against Defendant are dismissed with prejudice.

       27.    It is ORDERED that Defendant’s Motion for Summary Judgment as to Plaintiff

Armando Morales’s FLSA Wage Violations claim and liquidated damages request against

Defendant is GRANTED and all claims against Defendant are dismissed with prejudice.



       Signed in Houston, Texas this _________ day of _____________, 2024.




                                          _____________________________________
                                          PETER BRAY
                                          UNITED STATES MAGISTRATE JUDGE




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